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                  Mary Alexander & Associates, P.C.
                                       MaryAlexanderLaw.com
                                    44 Montgomery Street, Suite 1303
                                       San Francisco, CA 94104
                                        Phone (415) 433-4440
                                           Fax (415) 433-5440




    VIA ECF

    May 30, 2024

    Honorable Rukhsanah L. Singh
    United States District Court for the District of New Jersey
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street
    Trenton, NJ 08608

    Re: Response to Susan Sharko's May 1, 2024, Letter In Re: MDL 2738

    Dear Magistrate Judge Singh:

    On May 1, 2024, Defense Counsel Susan Sharko filed a letter (Document 32127) which
    listed the following case as deficient due to not submitting a Plaintiff Profile Form:

           Mount, Thomas Case No: 3:2023-CV-18824-MAS-RLS

    We have communicated with Brown Greer who has confirmed the submission of Mr.
    Mount’s Plaintiff Profile Form on April 24, 2024 to MDL Centrality.

    Attached to this letter is a screenshot from MDL Centrality documenting the submission of
    the Plaintiff Profile Form and the email correspondence with Brown Greer.

    Therefore, counsel requests that counsel for Defendants update their records to show that
    this case is not deficient and further requests that this case not be placed on an order to
    show cause.

    Thank you for your consideration.

    Respectfully submitted,

    MARY ALEXANDER & ASSOCIATES,
                     A           P.C.



    MARY
       R E.
    M RY
    MA      ALEXANDER, JD
         E ALEXANDER   JD, MPH

    Attachments
